               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA              :
                                      :
                v.                    :          1:17CR460-1
                                      :
PAULA KAY BULLOCK                     :


                             FACTUAL BASIS

      NOW COMES the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

and states the following as a factual basis under Rule 11 of the Federal Rules

of Criminal Procedure:

                          Background information

      During November of 2016, an individual whose initials are L.A. had her

dog, Romeo, treated at Affordable Animal Care (“AAC”) in Durham, North

Carolina. Defendant Paula Kay Bullock was the owner of and practicing

veterinarian at AAC. L.A.’s dog needed surgery and follow up care. At the

time, L.A. had been working as a housekeeper for an individual whose initials

are J.F. They had known each other for approximately ten years. J.F. agreed

to pay for Romeo’s veterinary services at AAC.

      J.F. provided AAC with her American Express credit card account

number ending in 33008 to pay for Romeo’s medical care. J.F. only agreed to




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pay for Romeo’s surgery and related follow-up care. No charges should have

been made to J.F.’s credit card after November of 2016. L.A. indicated that she

had Romeo treated twice during November 2016 and housed at AAC several

times prior to November 2016, but Romeo did not have any treatments or

services provided by AAC after November of 2016.

      From December of 2016 through April of 2017, AAC charged J.F.’s

American Express credit card without her permission for care and services that

were never provided. J.F. was unaware that AAC was continuing to charge

her account after November 2016 since she had automatic payments coming

from her Wells Fargo Bank, N.A., checking account to the American Express

credit card account. In addition, J.F. had been out of the country dealing with

a personal emergency during much of this time.           J.F. only noted the

discrepancy after the value of her Wells Fargo Bank, N.A., account dropped

and she discovered the continued charges from AAC made on her American

Express credit card account. J.F. questioned L.A. about the additional charges

and L.A. stated she only used J.F.’s American Express credit card during

November 2016 for treatments for Romeo and provided statements received

from AAC documenting services.

      J.F. also discovered that three unauthorized charges to Patterson

Veterinary Supply, Inc. (“PVS”) were made with her American Express credit

card. The payments were made on a PVS credit account that was opened in
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the name of Defendant Bullock and an individual whose initials are J.C. J.C.

indicated that a credit application for PVS was fraudulently opened in her

name while she worked as a Traveling Veterinarian at AAC. J.C. indicated

that the signature on the credit application was forged.           She directed

investigators to the signature section on the credit application, explaining that

her first name was misspelled several times. In addition, she recognized

Defendant Bullock’s signature on the application.          She recognized her

signature from paychecks she received while working for Defendant Bullock.

      The charges made on J.F.’s American Express credit card to Defendant

Bullock’s PVS account totaled $2,000.00.       An additional 27 unauthorized

charges were made to J.F.’s credit card by AAC.          Those charges totaled

$32,359.68. The total loss from all unauthorized transactions involving J.F.

was $34,359.68. This restitution has been repaid by Defendant Bullock and as

a result there is no restitution due and owing to J.F.

      Two of Defendant Bullock’s employees, C.G. and H.L. were interviewed

separately regarding their employment at AAC. C.G. indicated that she was

an Office Manager at AAC from August 2016 through February of 2017. While

working at AAC, she was instructed to make copies of the front and back of

customers’ credit cards by Defendant Bullock and to place those copies into

patient files. Defendant Bullock also called C.G. on several occasions and

instructed her to manually enter credit cards into the merchant processor
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machine. C.G. was further instructed by Defendant Bullock that if a card

failed to accept charges, to change the amount charged incrementally lower

until the charge was accepted. Once it was accepted, Defendant Bullock told

C.G. to immediately reverse the charge. C.G. stated that several calls started

to come in on a daily basis from clients around December of 2016. They were

complaining of charges made to their accounts for services never provided by

AAC. When C.G. would attempt to reverse the charges, she was instructed by

Defendant Bullock to never reverse a charge unless told to do so by Defendant

Bullock.

      C.G. was asked about the treatment of L.A.’s dog, Romeo.           C.G.

remembered Romeo and L.A. She indicated that she remembered that J.F.

paid for Romeo’s surgery in November of 2016. C.G. also indicated that Romeo

received no services from AAC after November 2016.         C.G. left AAC in

February of 2017 because she did not feel comfortable with many of Defendant

Bullock’s practices.

      H.L. was also an office manager at AAC.        She indicated that she

remembered Romeo and L.A.. She stated that no charges should have been

made for Romeo’s treatment or services after November 2016.

      H.L. also stated that she and other AAC staff were instructed to keep

front and back copies of credit cards and to place them in patient files. H.L.

explained that this was common practice at AAC and that customers would
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call on a daily basis complaining about inaccurate charges and additional

charges made to their credit card accounts. H.L. explained that Defendant

Bullock would regularly take office invoices and manually add payments into

the merchant processor even after being informed by H.L. that the payments

had already been made by the clients. H.L. knew that the payments had

already been made because it was part of her daily duties.

     H.L. also received a call from Defendant Bullock instructing her to

manually enter several credit cards for services already approved and to

immediately reverse the charge once the payment was accepted. H.L. believed

this to be strange, but did not question Defendant Bullock for fear of being

terminated.

     A search warrant of AAC was conducted by the Durham Police

Department (“DPD”) on May 23, 2017. During the search, DPD discovered

several financial documents which reflected Defendant Bullock’s fraudulent

use of victim credit cards through an onsite credit card processor. Credit

applications were also located which Defendant Bullock used to establish

fraudulent credit lines in victim names. DPD was able to match up fraudulent

purchases through documents located during the search warrant and financial

statements returned by victim and subject bank accounts.




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                        Counts Seven and Twenty-two

      After the return of the original indictment, evidence has arisen of

additional criminal activity by Defendant Bullock when investigators

discovered that Defendant Bullock had sold AAC and a new veterinarian was

operating the practice. The new owner has provided the government with the

electronic controlled substances log. Defendant Bullock maintained this log

pursuant to DEA regulations and a Memorandum Agreement between herself

as owner of AAC and the DEA by which she agreed to maintain complete and

accurate controlled substances after a DEA audit in 2015 found that Defendant

Bullock could not account for ninety percent of the Tramadol Pills in her

inventory.   Interview of an employee of Defendant Bullock revealed that

Defendant Bullock made entries in this controlled substances log personally.

In fact, employee L.B. informed investigators that she refused to make entries

in the log, as she knew it contained inaccurate entries. In particular, she knew

that Defendant Bullock had logged in disbursement of controlled substances to

dogs that in fact had not received the disbursements allowing Defendant

Bullock to falsely account for controlled substances to the DEA.

      Review of the controlled substance log revealed that a series of

fraudulent entries were made by Defendant Bullock as to two dogs owned by a

L.D. L.D. also was a victim of financial fraud by Defendant Bullock, who made

unauthorized charges on L.D.’s Bank of America, N.A., debit card account after
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her dogs were neutered by Defendant Bullock. This conduct is charged in

Count Seven of the indictment, in violation 18 U.S.C. § 1029(a)(2). L.D.’s dogs

were never treated by Defendant Bullock again. However, Defendant Bullock

recorded both dogs receiving shots of Ketamine on multiple occasions weeks

after their only visit to AAC. These false entries are in violation of Count

Twenty-two, making false entries in violation of 18 U.S.C. § 1001(a)(3).

      The charges made on L.D.’s Bank of America, N.A., debit card account

by Defendant Bullock totaled $1,630.86. This restitution has been repaid by

Defendant Bullock and as a result there is no restitution due and owing to L.D.

      This the 5th day of February, 2019.

                                            MATTHEW G.T. MARTIN
                                            United States Attorney


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      I hereby certify that on February 5, 2019, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to the following:

      Paul Moore Dubbeling, Esquire

                                      Respectfully submitted,

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                                      United States Attorney


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